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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  TRACI ST. CLAIRE,                       )
                                          )
                                          )
         Plaintiff,
                                          )
                                          )
  v.                                      )
                                            Civil Action No.: 1:17-cv-03370-AT-JFK
                                          )
  DITECH FINANCIAL LLC,                   )
  f/k/a GREEN TREE                        )
                                          )
  SERVICING, LLC
                                          )
                                          )
         Defendant.                       )



               DEFENDANT DITECH FINANCIAL LLC’S
       OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY
        INJUNCTION, DECLARATORY AND EQUITABLE RELIEF

       Defendant Ditech Financial, LLC (“Ditech”) files its response in opposition

to Plaintiff Traci St. Claire’s (“Plaintiff”) “Verified Motion for Preliminary

Injunction, Declaratory and Equitable Relief.” (Doc. 43).

       Each of Plaintiff’s requests for injunctive, declaratory, and equitable relief

lack merit and should be denied. Plaintiff’s demand for an injunction against Ditech

should be denied because (1) Plaintiff lacks a statutory basis for an injunction under

the Real Estate Settlement Procedures Act (“RESPA”) and the Homeowners

Protection Act (“HPA”); (2) she has failed to show irreparable harm; and (3)


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injunctive relief is simply inappropriate for the actions that Plaintiff wishes to enjoin.

Plaintiff’s request for declaratory relief to file an amended complaint also misses the

mark because it is moot based on previous orders of the Court. Lastly, Plaintiff is

not entitled to relief from paying her mortgage payments to Ditech as set out under

the plain terms of the Note and Security Deed. For these reasons and others, the

Court should deny Plaintiff’s motion.

                 I.    Summary of Facts and Procedural Posture

      1.      On or around June 22, 2007, Plaintiff obtained a mortgage loan in the

amount of $147,500.00 (the “Loan”) from Countrywide Home Loans, Inc. d/b/a

America’s Wholesale Lender (“Countrywide”) to re-finance real property located at

8390 Emerald Pointe Lane, Gainesville, Georgia 30506 (the “Property”). (Doc. 1, ¶

5). Plaintiff executed a Note (“Note”) in favor of Countrywide promising to make

payments as and when due under the Loan, along with a Security Deed (the “Security

Deed”), wherein Plaintiff granted Countrywide and its successors and assigns a first-

priority security interest in the Property.

      2.      In 2008, Countrywide changed its name to BAC Home Loans

Servicing, LP (“BAC”), which then became the servicer for the Loan. (Id., ¶ 14).

      3.      On April 26, 2010, Plaintiff entered into a “Home Affordable

Modification Agreement” (the “HAMP Modification”) with BAC. (Id., ¶ 15).


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       4.      On or around June 1, 2013, servicing of the Loan was transferred to

Green Tree Servicing, LLC. (Id., ¶ 22). Effective August 31, 2015, Green Tree

became known as Ditech, which continues to service the Loan.

       5.      On August 29, 2015, Plaintiff contacted Ditech and requested

confirmation that her private mortgage insurance (“PMI”) would be automatically

terminated on September 1, 2015. (Doc. 10-14). Plaintiff contended that under the

terms of the HPA such a cancellation was due on September 1, 2015 because, on

that date, she believed her mortgage balance would equal 78% of the Property’s

original value. (Id.).

       6.      On September 3, 2015, Ditech responded to Plaintiff’s August 29,

2015, letter and rejected Plaintiff’s request to cancel her PMI as of September 1,

2015. (Doc. 10-15). Plaintiff’s calculation of the ratio of her loan balance to the

Property’s value was incorrect, and PMI was not scheduled to be cancelled on

September 1, 2015. (See id.). Using the correct ratio calculation, Ditech cancelled

Plaintiff’s PMI on June 1, 2016. (Doc. 10-9, p.10).

       7.      In June 2016, Plaintiff began to send Ditech multiple “Qualified

Written Requests” (“QWRs”) as defined by RESPA, complaining about Ditech’s

refusal to cancel her PMI before June 1, 2016. (See generally Doc. 1). Plaintiff sent

Ditech four QWRs from June – November 2016. (See generally id.). Those four


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QWRs are the basis for Plaintiff’s RESPA claims against Ditech. (See generally id.).

      8.      Plaintiff sent her first QWR on June 16, 2016. (Doc. 1, ¶ 47). In this

QWR, Plaintiff alleged that Ditech failed to timely mail her a “Recast Letter” as

required by Fannie Mae guidelines. (Id., ¶¶ 45 – 47). The Recast Letter is intended

to inform mortgagors about the option to re-amortize the unpaid principal balance

of their loans and thereby lower monthly mortgage payments. (Id., ¶ 43). Plaintiff

alleges that Ditech sent this letter approximately one month late. (Id., ¶¶ 45 – 46).

Plaintiff claims that Ditech’s actions caused her to suffer monetary damages in the

form of “additional interest that Plaintiff would not have otherwise had to pay if the

Recast had been provided in a timely manner.” (Id., ¶ 104). Plaintiff also alleges

emotional distress resulting from Ditech’s actions. (Id., ¶¶ 107, 110, 112, 115).

      9.      Plaintiff sent her second QWR on August 10, 2016. (Id., ¶ 61). In this

QWR, Plaintiff requested additional information regarding a PMI refund check that

she received in the amount of $26.71. (Id.). She contended that the amount of the

refund check was incorrect and that Ditech failed to timely cancel her PMI. (Id.).

She claims that these errors caused her monetary damages because she was forced

to pay “additional PMI that she did not owe.” (Id., ¶ 121). She further alleges that

she suffered emotional distress in the form of “anger, confusion and anxiety over

when her PMI should have automatically cancelled on her loan and worry over


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whether her loan was being serviced properly.” (Id.).

      10.    Plaintiff sent her third QWR on October 20, 2016. (Id., ¶¶ 67 – 68). In

this QWR, Plaintiff alleged that Ditech failed to properly note the date when she

received her HAMP trial offer which ultimately led to the HAMP Modification.

(Id.). This QWR also alleged that Ditech improperly and untimely calculated the re-

amortization of her loan following the Recast Letter. (Id., ¶ 70). She contended that

Ditech’s re-amortization utilized an incorrect principal balance and monthly

mortgage payment. (Id.). Finally, Plaintiff complained that Ditech failed to process

her request to cancel her escrow account, despite multiple requests to do so. (Id., ¶

84). Plaintiff alleges that Ditech’s actions caused her monetary damages in the form

of paying “additional interest that she otherwise would not [have] had to pay”;

paying “additional PMI that she did not owe”; and “by not being considered for a

waiver of her escrow requirement, and thus losing the ability to control her own

funds.” (Id., ¶¶ 125, 130, 132, 140). She further alleges that Ditech’s actions caused

her emotional distress. (Id., ¶¶ 125, 128, 130, 132, 137, 140).

      11.    Plaintiff sent her fourth QWR on November 8, 2016. (Id., ¶ 88). In this

QWR, Plaintiff alleged that Ditech failed to timely re-amortize her loan following

her request that Ditech do so on October 19, 2016. (Id., ¶¶ 88 – 90). Plaintiff also

requested transcripts of the telephone calls that she had with Ditech as well as


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customized amortization schedules based on various dates chosen by Plaintiff. (Id.,

¶¶ 91 – 92). Plaintiff alleges that Ditech’s actions caused her to suffer monetary

damages as she “overpaid her PMI” and her “re-amortization was delayed by Ditech

resulting in Plaintiff paying additional interest that she otherwise would not [have]

had to pay.” (Id., ¶¶ 144, 151). She further alleges that Ditech’s actions caused her

emotional distress in the form of “anger, confusion and anxiety over when her loan

should have been reamortized and worry over whether her loan was being serviced

properly.” (Id., ¶¶ 144, 148). She lastly alleges that she has been damaged “by being

denied access to evidence showing her efforts to seek Defendant’s compliance with

RESPA and its regulations.” (Id., ¶ 148).

      12.    Plaintiff filed the present lawsuit against Ditech on September 5, 2017.

(Doc. 1). Plaintiff alleges violations of the HPA based on Ditech’s failure to timely

cancel her PMI and violations of RESPA based on Ditech’s allegedly inadequate

responses to her four QWRs. (See generally id.).

      13.    On December 18, 2017, Ditech filed a motion to dismiss Plaintiff’s

complaint. (Doc. 10).

      14.    On April 26, 2018, the Magistrate Judge entered a non-final report and

recommendation, granting in part and denying in part Ditech’s Motion to Dismiss.

(Doc. 24). Magistrate Judge King recommended that Ditech’s motion should be


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denied as to both Plaintiff’s HPA claim and various portions of her RESPA claim

related to Ditech’s response to Plaintiff’s June 16, 2016 QWR. (Id., pp. 41 – 42).

Magistrate Judge King recommended that the remaining portions of Plaintiff’s

complaint be dismissed. (Id.).

      15.    On September 21, 2018, the District Judge accepted in part and rejected

in part Magistrate Judge King’s non-final report and recommendation. (Doc. 32).

Judge Totenberg accepted the portions of the report and recommendation that denied

Ditech’s motion to dismiss, and denied the portions of the report and

recommendation that granted Ditech’s motion to dismiss as to Plaintiff’s RESPA

claims. (Id., pp. 2, 32). As such, this Court denied Ditech’s motion in full. (See Doc.

37, p. 1). The Court also administratively closed the case and ordered the parties to

mediation. (Doc. 32, p. 32).

      16.    On October 3, 2018, Plaintiff filed a “Motion to Reconsider Reopening

the Case and Motion for Leave to Amend and Supplement Complaint.” (Doc. 33).

In her motion, Plaintiff requested that the Court allow her leave to file an amended

complaint to include additional claims against Ditech as well as claims against

Fannie Mae. (Id., pp. 7 – 8).

      17.    On October 23, 2018, the Court denied Plaintiff’s Motion to

Reconsider. (Doc. 37). The Court also held that, should the mediation be


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unsuccessful, Ditech would be given 14 days following the completion of mediation

to file a full response to Plaintiff’s request to file an amended complaint. (Id., p. 3

n.3).

        18.   On December 19, 2018, in an attempt to once again preempt the Court’s

mediation order, Plaintiff filed the present “Verified Motion for Preliminary

Injunction, Declaratory and Equitable Relief.” (Doc. 43). Plaintiff’s motion largely

restates the allegations from her original complaint and the amended complaint that

she wishes to file. (Compare Doc. 43 to Doc. 1 and Doc. 33-1). Plaintiff’s requested

relief can be summarized as follows: (1) enjoining Ditech from transferring the

servicing rights of the Loan, from foreclosing or accelerating the Loan, and from

reporting any negative credit information (Doc. 43, pp. 11 – 12); (2) declaratory

relief and judgment as to Plaintiff’s proposed amended complaint “so that it may be

granted and filed immediately upon the court” (Id., pp. 9 – 10); and (3) equitable

relief from her contractual obligations to make payments under the Security Deed

and Note until the Court has considered the claims of Plaintiff’s proposed amended

complaint (Id., p. 13).

        19.   Despite having filed a lawsuit, Plaintiff continues to send

correspondence to Ditech. Since this litigation has commenced, Ditech has received

at least eight letters from Plaintiff. These letters, each purporting to be QWRs, have


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contained over 100 purported notices of error and requests for information. These

purported QWRs are largely duplicative of one another and contain numerous

requests that are irrelevant to any allegation of actual servicing errors. Nonetheless,

Ditech has invested significant time and resources to fully respond to each of these

letters.

                             II.    Standard of Review

       To succeed on a motion for preliminary injunction, a plaintiff must

demonstrate “(1) a substantial likelihood of success on the merits; (2) that irreparable

injury will be suffered unless the injunction issues; (3) the threatened injury to the

movant outweighs whatever damage the proposed injunction may cause the

opposing party; and (4) if issued, the injunction would not be adverse to the public

interest.” Four Seasons Hotels and Resorts, B.V. v. Consorcio Barr, S.A., 320 F.3d

1205, 1210 (11th Cir. 2003). “[A] preliminary injunction is an extraordinary and

drastic remedy not to be granted unless the movant clearly established the ‘burden

of persuasion’ as to each of the four prerequisites.” Id. (quoting McDonald’s

Corp., 147 F.3d 1301, 1306 (11th Cir. 1998)); see also Texas v. Seatrain Int’l,

S.A., 518 F.2d 175, 179 (5th Cir. 1975) (grant of preliminary injunction “is the

exception rather than the rule,” and a movant must clearly carry the burden of

persuasion).


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      To succeed on a request for declaratory relief, a plaintiff must show that an

actual case or controversy exists as required by Article III of the U.S. Constitution.

Flanigan’s Enterprises, Inc. of Georgia v. City of Sandy Springs, Georgia, 868 F.3d

1248, 1268 (11th Cir. 2017). “For a controversy to exist, the facts alleged, under all

the circumstances must show there is a substantial controversy between the parties

having adverse legal interests of sufficient immediacy and reality to warrant the issue

of a declaratory judgment.” Crespo v. Coldwell Banker Mortg., 599 Fed. App’x. 868,

874 (11th Cir. 2014) (quoting Atl. Gas Light Co. v. Aetna Cas. & Sur. Co., 68 F.3d

409, 414 (11th Cir.1995)). “[A] plaintiff seeking only . . . declaratory relief must

prove not only an injury, but also a ‘real and immediate threat’ of future injury in

order to satisfy the ‘injury in fact’ requirement.” In re Atlas Roofing Corp. Chalet

Shingle Products Liab. Litig., 113-CV-4217-TWT, 2014 WL 2738680, at *2 (N.D.

Ga. June 17, 2014) (internal quotations omitted).

      Finally, “Under Georgia law, in bringing a claim for equitable relief, “[she]

who would have equity must do equity and must give effect to all equitable rights of

the other party respecting the subject matter of the action.” Horne v. Harbour

Portfolio VI, LP, 304 F. Supp. 3d 1332, 1346 (N.D. Ga. 2018) (quoting O.C.G.A. §

23–1–10).

                                  III.   Argument


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A.     Plaintiff is Not Entitled to Injunctive Relief

       Plaintiff seeks to enjoin Ditech from transferring servicing of the Loan, from

conducting a foreclosure or accelerating the Loan, and from reporting any negative

credit information concerning Plaintiff. (Doc. 43, pp. 10 – 11). Plaintiff’s request for

injunctive relief fails for multiple reasons. First, Plaintiff does not have a right to an

injunction under either RESPA or the HPA. Second, Plaintiff’s lawsuit is merely

seeking monetary damages, thus she has an adequate remedy at law and cannot show

irreparable harm. And third, the actions that Plaintiff is seeking to enjoin are not

appropriate items for an injunction. Multiple courts within the Eleventh Circuit,

including this Court, have rejected similar requests, and the Court should rule

similarly here.

       1.     RESPA and the HPA Do Not Permit Injunctive Relief

       “[A]ny motion or suit for either a preliminary or permanent injunction must

be based upon a cause of action, such as a constitutional violation, a trespass, or a

nuisance. ‘There is no such thing as a suit for a traditional injunction in the abstract.’”

Alabama v. U.S. Army Corps of Engineers, 424 F.3d 1117, 1127 (11th Cir. 2005)

(quoting Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1097 (11th Cir. 2004)).

Given that Plaintiff’s complaint only asserts violations of RESPA and the HPA, any

right to an injunction must be based on one of these two statutes. See id.


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      RESPA explicitly does not permit a private individual to sue for an injunction.

“Although RESPA provides a basis for certain government officers to seek

injunctions, 12 U.S.C. § 2607(d)(4), only monetary relief is available for private

individuals alleging RESPA violations, 12 U.S.C. § 2605(f).” Nembhard v. Barrett

Daffin Frappier Levine & Block, LLP, 1:17-CV-00746-WSD, 2017 WL 894449, at

*2 (N.D. Ga. Mar. 7, 2017); Lindsay v. Selene Fin. LP, 116CV03323RWSRGV,

2017 WL 8186853, at *4 (N.D. Ga. Feb. 17, 2017), report and recommendation

adopted, 1:16-CV-3323-RWS, 2017 WL 8219031 (N.D. Ga. Mar. 21, 2017)

(collecting cases). Because RESPA does not permit injunctive relief, Plaintiff is

barred from seeking an injunction under this statue. See id.

      Likewise, the HPA does not provide for injunctive relief as a remedy. Under

the “Civil Liability” section of the HPA, actual damages, statutory damages, costs,

and attorney’s fees are collectible. 12 U.S.C. § 4907. The statute is silent as to

injunctions. See id. As other courts in this District have held when interpreting

consumer protection statutes, such as RESPA, “[I]f Congress intended to allow

equitable relief for private individuals . . . it would have done so expressly.” E.g.,

Howard v. Mortgage Elec. Registration Sys., Inc., 1:10-CV-1630-WSD, 2010 WL

11549926, at *2 (N.D. Ga. Oct. 15, 2010). Further, the undersigned’s research has

not uncovered any examples of a federal court issuing an injunction under the HPA.


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Accordingly, based on the text of the HPA, canons of statutory interpretation, and a

lack of precedent, the HPA does not authorize injunctive relief. The Court should

deny Plaintiff’s demand for an injunction for lack of a suitable cause of action.

      2.     Plaintiff Has an Adequate Remedy at Law

      A preliminary injunction may only issue where the requesting party

demonstrates that an irreparable injury will result if the injunction is not granted.

Consorcio Barr, S.A., 320 F.3d at 1210. Irreparable injury occurs where there is no

adequate remedy at law. Reynolds v. Roberts, 207 F.3d 1288, 1299 (11th Cir. 2000).

Thus, “An injury is ‘irreparable’ only if it cannot be undone through monetary

remedies.” Huntley v. Chicago Bd. of Options Exch., 1:15-CV-1945-AT, 2015 WL

12698295, at *1 (N.D. Ga. June 8, 2015) (quoting N.e. Fla. Chapter of Ass’n of Gen.

Contractors of Am. v. City of Jacksonville, Fla., 896 F.2d 1283, 1285 (11th Cir.

1990)). Further, “[T]he asserted irreparable injury ‘must be neither remote nor

speculative, but actual and imminent.’” Cathedral Art Metal Co. v. Divinity

Boutique, LLC, 1:18-CV-141-WSD, 2018 WL 388588, at *2 (N.D. Ga. Jan. 12,

2018) (quoting Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000)).

      Here, Plaintiff solely seeks monetary damages from Ditech for which she has

an adequate remedy at law. For her claim under the HPA, Plaintiff alleges that she

was forced to pay additional insurance premiums because Ditech failed to cancel her

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PMI at earlier date. (Doc. 1, ¶¶ 27 – 32). Likewise, under her various RESPA claims,

she seeks monetary damages for additional interest and PMI that she was allegedly

forced to pay, as well as losing the ability to control her own funds by not being

granted a waiver of her escrow account. (Id., ¶¶ 104, 121, 125, 130, 132, 140, 144,

151). She also alleges emotional distress. (Id., ¶¶ 107, 110, 112, 115, 121, 125, 128,

130, 132, 137, 140, 144, 148). All of these damages are capable of being redressed

through a monetary award following a trial on the merits. In other words, Plaintiff

cannot show how any injury she suffered “cannot be undone through monetary

remedies.” Huntley, 2015 WL 12698295, at *1 (quoting City of Jacksonville, 896

F.2d at 1285). Indeed, the very remedies she seeks are monetary in nature. (See, e.g.,

Doc. 1, ¶¶ 104, 121, 125, 130, 132, 140, 144, 151). Accordingly, an injunction is

unwarranted here where a final judgment on the merits would make Plaintiff whole.

      Plaintiff’s attempts to show that she lacks an adequate remedy at law are

unavailing. She argues that her situation is “precarious at best” as she may lose her

ability to collect an award of damages given the possibility that Ditech might declare

bankruptcy or transfer the servicing rights of the Loan to another entity. (Doc. 43, p.

12). She states that if either of these outcomes occurs, she “will essentially have to

start over trying to correct errors or gather information from a new servicer.” (Id.).

These allegations are speculative at best and do not represent “actual and imminent”


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harm. See Cathedral Art Metal Co., 2018 WL 388588, at *2 (quoting Siegel, 234

F.3d at 1176). She has provided no evidence that Ditech intends to transfer the

servicing of her Loan. (See generally Doc. 43). And as for a potential bankruptcy

filing, the Third Quarter report she cites simply states that Ditech is “considering a

range of potential transactions including, among other things, a sale of the Company,

a sale of all or a portion of the Company’s assets, and/or a recapitalization of the

Company.” (Id., pp. 1- 2) (emphasis added). Because Plaintiff’s alleged injuries can

be resolved through an adequate remedy at law, and she has failed to show any

irreparable harm that is actual and imminent, her request for injunctive relief fails.

      3.     An Injunction is Improper to Address Plaintiff’s Requested Relief

      Beyond the issues identified above, Plaintiff’s request for an injunction is

improper on its face. She asks the Court to enjoin Ditech from (1) transferring

servicing of the Loan; (2) foreclosing or accelerating the Loan; and (3) reporting

negative credit information to the major credit bureaus. (Doc. 43, pp. 10 – 11). None

of these actions are proper subject matter for an injunction.

      Concerning the service transfer, courts within the Eleventh Circuit have

rejected these types of requests from plaintiffs. E.g., Caplinger v. Ocwen Loan

Servicing, LLC, 8:14-CV-3214-T-35MAP, 2015 WL 12938920, (M.D. Fla. Dec. 29,

2015). In Caplinger, the plaintiff asked the court to enjoin the defendant mortgage


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servicer “from making any future transfers of loan servicing or attempts to transfer

loan servicing of his mortgage loan account.” Id. at *1. The plaintiff contended that

if a service transfer occurred, he would “be ‘irreversibly’ injured . . . because he

[would] have to endure a new round of illegitimate collection activities” from the

new servicer. Id. at *2. The Caplinger Court rejected the plaintiff’s request,

reasoning that future harm resulting from the transfer of the mortgage to another

servicer was speculative. Id. The court further noted that any injury the plaintiff

might suffer could be addressed through monetary or statutory damages. Id. The

same reasoning applies here. Plaintiff’s contention that a service transfer would harm

her because she would “essentially have to start over trying to correct errors or gather

information from a new servicer” is speculative at best. (See Doc. 43, p. 12). Further,

a service transfer would not prevent her from being made whole through actual or

statutory damages allowed under the HPA and RESPA. See 12 U.S.C. § 4907 and

12 U.S.C. § 2605(f)(1). Accordingly, Plaintiff cannot meet her high burden to show

that Ditech should be enjoined from transferring servicing of the Loan.

      Plaintiff’s request to enjoin acceleration or foreclosure similarly fails. As an

initial matter, any harm that Plaintiff could identify from these actions is remote and

speculative. Plaintiff does not allege that Ditech considers Plaintiff’s Loan to be in

default or is presently attempting to foreclose. (See generally Doc. 43). Indeed, any


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harm that could occur in this arena would be of Plaintiff’s own making as she has

stated her intention to stop making her mortgage payments to Ditech. (See id., p. 17).

Further, Eleventh Circuit courts, including this Court, have rejected requests for

injunctions similar to Plaintiff’s. For example, in Phillips v. Mortgage Elec.

Registration Sys., Inc., 5:09-CV-2507-TMP, 2013 WL 1498956, (N.D. Ala. Apr. 5,

2013), the court held that a mortgage servicer’s alleged past errors did not entitle the

plaintiff “to a prospective injunction to prevent the proper party from beginning the

acceleration and foreclosure process anew.” Id. at *15. And in Williamson v. Bank

of Am., N.A., 1:11-CV-1161-AT, 2013 WL 1224404 (N.D. Ga. Mar. 8, 2013), this

Court rejected a plaintiff’s attempt to enjoin a nonjudicial foreclosure and held that

a nonjudicial foreclosure could only be enjoined where “the authority to foreclose is

in question” (e.g. where the foreclosing entity did not possess the promissory note

or was not an assignee of the mortgage). Id. at *8 (citing Georgia Supreme Court

cases). The Williamson plaintiff failed to present any evidence to make such a

challenge; therefore, the Court rejected Plaintiff’s request for injunctive relief. Id. at

*9. Here, Plaintiff may not cite Ditech’s alleged past servicing errors to prevent it

from pursuing acceleration or foreclosure in the future. See Phillips, 2013 WL

1498956 at * 15. Moreover, Plaintiff has made no challenge to Ditech’s authority or

standing to foreclose, which is required to enjoin a nonjudicial foreclosure. See


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Williamson, 2013 WL 1224404 at *8 – 9; (see also Docs. 1 & 43). Accordingly,

Plaintiff has no grounds to prevail on an injunction against the acceleration or

foreclosure of the Loan.

      Finally, Plaintiff lacks any basis to enjoin the reporting of negative credit

information. First, Plaintiff has failed to allege that Ditech is currently reporting any

derogatory credit information or that such reporting is imminent. (See generally Doc.

43). Second, she lacks a cause of action to support injunctive relief. As stated above,

a request for injunctive relief cannot stand in the abstract, but must be authorized by

a specific cause of action. U.S. Army Corps of Engineers, 424 F.3d at 1127

(quoting Klay, 376 F.3d at 1097). Causes of action related to credit reporting are

governed by the Fair Credit Reporting Act (“FCRA”), which preempts all relevant

state law claims. Clark v. PNC Bank, N.A., 1:13-CV-1305-WSD, 2014 WL 359932,

at *5 n.15 (N.D. Ga. Feb. 3, 2014) (quoting 15 U.S.C. § 1681t(b)(1)(F)). The FCRA,

even if Plaintiff had pleaded it, does not authorize injunctive relief as held by

multiple courts within the Eleventh Circuit. E.g., Daniels v. Experian Info. Sols.,

Inc., CV 109-017, 2009 WL 1811548, at *4 (S.D. Ga. June 24, 2009) (holding “The

majority of federal district courts, including a federal district court in this circuit, to

consider the issue have also found that private plaintiffs have no right to injunctive

or declaratory relief under the FCRA.”). As such, Plaintiff’s request to enjoin Ditech


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from reporting future negative credit information should be denied.

B.     The Court Has Already Rejected Plaintiff’s Claim for Declaratory Relief

       In her request for declaratory relief, Plaintiff “respectfully request[s] the Court

for declaratory relief and judgment as to [her] [amended complaint] so that it may

be granted and filed immediately upon the court.” (Doc. 43, pp. 9 – 10). Such a

request is moot because the Court has already made a ruling on this issue. Moreover,

even if the Court had not already ruled, Plaintiff has provided nothing to show that

she is entitled to declaratory relief.

       After ruling on Ditech’s motion to dismiss, the Court ordered the parties to

mediation and stayed the case. (Doc. 32, p. 32). Plaintiff challenged this order and,

on October 3, 2018, filed a “Motion to Reconsider Reopening the Case and Motion

for Leave to Amend and Supplement Complaint.” (Doc. 33). In her motion, Plaintiff

requested that the Court allow her leave to file an amended complaint to include

additional claims against Ditech as well as claims against Fannie Mae. (Id., pp. 7 –

8). The Court considered this motion and denied it. (Doc. 37). As part of that denial,

the Court explicitly held that, in the event that mediation was unsuccessful, Ditech

would have 14 days to file a full response to Plaintiff’s request to file an amended

complaint. (Id., p. 3 n.3). Plaintiff, apparently dissatisfied with this ruling, is once

again demanding that the Court accept her amended complaint without hearing from


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Ditech. (See Doc. 43, pp. 9 – 10).

      First, the Court should reject this request as moot because it already clearly

ruled on this issue. (Doc. 37, p. 3 n.3). Second, Plaintiff’s demand is inappropriate

for declaratory relief because it does not implicate a “‘real and immediate threat’ of

future injury.” In re Atlas Roofing Corp., 2014 WL 2738680, at *2 (quoting Koziara

v. City of Casselberry, 392 F.3d 1302, 1305 (11th Cir. 2004)). The Court has not

denied Plaintiff’s request to file an amended complaint. (See Doc. 37). The Court

simply held that, before it would issue a ruling, Ditech would have an opportunity

to be heard. (Doc. 37, p. 3 n.3). Plaintiff cannot possibly identify a real and

immediate injury arising from the Court’s briefing schedule. Therefore, the Court

should deny Plaintiff’s request for declaratory relief and reaffirm its earlier ruling.

C.    Equity Will Not Permit Plaintiff to Avoid Her Contractual Obligations

      Due to the errors that Plaintiff has allegedly identified with Ditech’s servicing,

Plaintiff asks the Court to excuse her from continuing to make her mortgage

payments to Ditech. (Doc. 43, p. 17). She specifically “seeks Equitable Relief from

my contractual obligations under the Security Deed and Note until such time [as]

this court has considered all my claims including those for breach of contract within

my [amended complaint].” (Id.). She states her intention to retain her mortgage

payments in a separate escrow account or make these payments into a registry of the


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Court. (Id.). The Court should deny Plaintiff’s request to circumvent her contractual

obligations.

      Plaintiff is effectively requesting the Court to allow her to breach the Note

and Security Deed while she, in turn, asserts a breach of contract against Ditech.

(Id.). Plaintiff has an affirmative obligation to pay monthly payments under the Note

and Security Deed that she executed. (Doc. 10-2, ¶ 3; Doc. 10-3, ¶ 1). Plaintiff has

no contractual basis to stop having to make payments on the Loan simply because

she is unsatisfied with Ditech’s responses to her QWRs. Equity does not permit

Plaintiff to avoid her payment obligations under the Note and Security Deed while

retaining the benefit of continuing to live in the Property. (See Doc. 43, p. 17). See

Heath v. Fed. Nat'l Mortgage Ass’n, 4:12-CV-00262-HLM, 2013 WL 12099647, at

*3 (N.D. Ga. Jan. 11, 2013). For these reasons, Plaintiff’s request for equitable relief

does not pass muster and should be denied.

                                  IV.    Conclusion

      As shown above, Plaintiff has failed to substantiate her request for injunctive,

declaratory, or equitable relief. The Court should deny Plaintiff’s motion and allow

the Parties to proceed to mediation per the Court’s previous orders. (Docs. 32 & 37).




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             Respectfully submitted this 2nd day of January, 2019.


                                        /s/Keith S. Anderson
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                                        ATTORNEY FOR DITECH FINANCIAL, LLC


                         Certification of Compliance

     I hereby certify that the foregoing document has been prepared in 14-point

Times New Roman font and complies with LR 5.1(B).

                        This 2nd day of January, 2019.

                                           /s/Keith S. Anderson
                                           Keith S. Anderson




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                               Certificate of Service

      I hereby certify that I have this date electronically filed the foregoing

OPPOSITION         TO    PLAINTIFF’S          MOTION       FOR     PRELIMINARY

INJUNCTION, DECLARATORY AND EQUITABLE RELIEF by the CM/ECF

online filing system with U.S. District Court for the Northern District of Georgia and

that I have on January 2, 2019, also served the foregoing via U.S. Mail on the

following:

                                  Traci St. Claire
                             8390 Emerald Pointe Lane
                              Gainesville, GA 30506


                                       /s/Keith S. Anderson
                                       Keith S. Anderson




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